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IN THE UNITED STATES DlSTRlC'l` COURT

DISTRICT OF COLUMBIA
§
UNITED STATES OF AMERlCA §
ex reI. Clarisse Christine 'I`oledo, §
§
Plaintiff, § Civil No. l7-CV-2856
§
v_ § HHDMBER-se.¢=@"-)
§
HCA HOLDINGS, INC., et al., §
§
Defendants. §

EE[§?;:EDI ORI_)ER D_l_SMI§SINQ_COUNTS l. II, AEI_) Ill OF
PLAINTlFF/RELATOR’S ORIGINAL COMPLAINT

 

Before the Court is Plaintifl`/Relator Clarisse Christine Toledo’s Rule 41 Notice of
Dismissal of Counts I, Il, and lll of her Original Complaint (ECF No. l). The Court is of the
opinion that dismissal of these claims should be GRANTED. It is therefore ORDERED that
Counts I, II, and III are dismissed with prejudice to Relator To|edo and without prejudice to the

United States.

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SO ORDERED THIS /y DAY OF MARCH, 2019.

M¢o,/%

uNI”rED STATES DISTRlcT JUDGE

 

